   Case: 1:17-md-02804-DAP Doc #: 4619 Filed: 09/07/22 1 of 3. PageID #: 598436




                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION

This document relates to:

       County of Lake, Ohio v. Purdue
       Pharma L.P., et al.,                           MDL No. 2804
         Case No. 18-op-45032 (N.D. Ohio)             Case No. 17-md-2804
                                                      Judge Dan Aaron Polster
       County of Trumbull, Ohio v. Purdue
        Pharma, L.P., et al.,
         Case No. 18-op-45079 (N.D. Ohio)

 “Track 3 Cases”


                                     NOTICE OF APPEAL

         Defendants Walgreens Boots Alliance, Inc., Walgreen Co., and Walgreen Eastern Co.,
 Inc., hereby appeal to the United States Court of Appeals for the Sixth Circuit from the final
 judgment entered on August 22, 2022 (Dkt. 4614), as well as all orders leading to that judgment.*

        DATED: September 7, 2022

                                             /s/ Kaspar J. Stoffelmayr
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        *
         While Walgreen Co. was the only Walgreens entity named on the verdict form, in an
 abundance of caution to avoid any risk of waiver or forfeiture, the other Walgreens entities
 named in the suit—Walgreens Boots Alliance, Inc. and Walgreen Eastern Co., Inc.—join in the
 appeal.
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                                 CERTIFICATE OF SERVICE
       I hereby certify that on September 7, 2022 the foregoing Notice of Appeal was

electronically filed and served on all counsel of record through the Court’s electronic filing

system.


                                              /s/ Kaspar J. Stoffelmayr
                                              Kaspar J. Stoffelmayr

Dated: September 7, 2022




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